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                   UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF PENNSYLVANIA

IN RE: GENERIC                       MDL 2724
PHARMACEUTICALS                      16-MD-2724
PRICING ANTIRUST LITIGATION
____________________________________ HON. CYNTHIA M. RUFE

THIS DOCUMENT RELATES TO:

ALL ACTIONS
____________________________________

          NOTICE OF WITHDRAWAL OF APPEARANCE

     Pursuant to Local Rule 5.1(c), the undersigned, D. J. Pascoe,

hereby submits his Withdrawal of Appearance as counsel for Plaintiff

State of Michigan in the above-captioned matter. Assistant Attorneys

General Matthew Walker and Scott Mertens of the Office of the

Attorney General of the State of Michigan will continue to represent

Plaintiff State of Michigan and it will not be without representation in

this matter.

                                  Respectfully Submitted,


                                  /s/D. J. Pascoe
                                  D. J. Pascoe (P54041)
                                  Former Assistant Attorney General
                                  Michigan Dep’t of Attorney General
Dated: August 2, 2022


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